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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                           January 14, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              VICTORIA DIVISION

 In re:                                             §
                                                    §   Subchapter V
 Scott Vincent Van Dyke                             §
                                                    §   Case No. 21-60052
                     Debtor.                        §   Christopher M. Lopez


                                        ORDER
                                        (No. 122)

       Came on for consideration the Motion to Withdraw Subchapter V Plan filed by Debtor
Scott Vincent Van Dyke (the “Motion”). After considering the Motion, it is hereby

       ORDERED that the Subchapter V Plan filed on December 11, 2021 (Docket No. 86) is
withdrawn.


                               RESERVED FOR JUDGE’S
          August14,
          January 02,2022
                      2019          SIGNATURE
